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            EXHIBIT B
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                                                                   Page 1

 1
 2                  UNITED STATES DISTRICT COURT
 3                  SOUTHERN DISTRICT OF NEW YORK
 4
 5      E. JEAN CARROLL,                   )
                         Plaintiff,        )
 6                                         )
                      -against-            )20-cv-7311(LAK)
 7                                         )
        DONALD J. TRUMP, in his            )
 8      personal capacity,                 )
                         Defendant.        )
 9      _______________________            )
10
11
12                       ***CONFIDENTIAL***
13                     VIDEOTAPED DEPOSITION OF
14                         E. JEAN CARROLL
15                       New York, New York
16                     Friday, October 14, 2022
17
18
19
20      Reported By:
21      CATHI IRISH, RPR, CRR, CLVS
22
23
24
25

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                                                                  Page 40

 1                   CARROLL - CONFIDENTIAL
 2      sold the company?
 3           A.     No.
 4           Q.     Did you ever use your own website
 5      to meet anyone?
 6           A.     I looked.
 7           Q.     I'll just repeat my question.
 8      Did you ever use the website to meet
 9      anyone?
10           A.     I didn't see anyone --
11           Q.     You didn't --
12           A.     -- that I would have dated.
13           Q.     Did your sister ever date anybody
14      from the website?
15           A.     No.
16           Q.     What would have been your
17      criteria for someone you dated at that
18      time, and I can give you a year
19      approximately, but let's say when you sold
20      the company to The Knot?
21           A.     Here's the thing, the light had
22      gone out.     I just wasn't -- I liked
23      meeting men, I liked meeting new people
24      but my life was not there, you know?                In
25      New York there's a taxi and if the light

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                                                                  Page 41

 1                   CARROLL - CONFIDENTIAL
 2      is on it means it's available, wants to
 3      meet people.       I didn't have that.           My
 4      light was gone.
 5           Q.     But you had been looking on the
 6      website to see if there was anyone?
 7           A.     I'm always curious.
 8           Q.     Do you go out on dates?
 9                  MS. KAPLAN:     Again, let's have a
10           time frame.
11      BY MS. HABBA:
12           Q.     Same time frame, let's stick with
13      that time frame, when you sold it to The
14      Knot.
15           A.     Every once in awhile but I rarely
16      let a new acquaintance get to the point
17      where he would ask me out or I would ask
18      him out.
19           Q.     So you would go to dinners; is
20      that correct?
21           A.     Yes, as friends.
22           Q.     Let me ask you this:           Did you
23      only date men?
24           A.     Yes.
25           Q.     Never dated women?

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        Case 1:22-cv-10016-LAK Document 15-2 Filed 12/19/22 Page 5 of 48



                                                                  Page 42

 1                   CARROLL - CONFIDENTIAL
 2           A.     No.
 3           Q.     So who was your last significant
 4      relationship that you remember?
 5           A.     John Johnson.
 6           Q.     Who was the last man you dated
 7      that you recall?
 8           A.     I don't remember his name.
 9      That's how significant it was.
10           Q.     Do you remember approximately
11      when?
12           A.     No.   It's not for lack of trying.
13      I wanted to meet people.          I just -- the
14      music had stopped.
15           Q.     Why do you think the music had
16      stopped?
17           A.     Well, looking back on it, it may
18      have been what happened at Bergdorf's.
19           Q.     Is there anything else that you
20      think could have caused it?
21           A.     Luck, not -- not meeting people
22      that would make me want to spend time with
23      them.
24           Q.     Do you consider yourself asexual
25      at this moment?

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                                                                   Page 43

 1                   CARROLL - CONFIDENTIAL
 2           A.     No.
 3           Q.     So a sex drive is not the issue;
 4      is that correct?
 5           A.     I had no desire for desire.                I
 6      don't have the desire to want sex.                   You
 7      have to want sex.
 8           Q.     Would you describe that as a sex
 9      drive for most people?
10           A.     Yes.
11           Q.     Have you ever tried to fix that
12      in any way, meaning getting help?
13           A.     Well, looking back perhaps maybe
14      I should have but in my own way, I started
15      a dating site and then I started another
16      dating site.       It's not that I was, you
17      know, staying in the house with a shawl
18      over my head.
19           Q.     What type of men do you like?
20                  MS. KAPLAN:     Objection to form.
21                  MS. HABBA:     Generally what type
22           of men do you like?
23                  MS. KAPLAN:     You can answer.
24                  THE WITNESS:      Men who live
25           fascinating lives, men who are kind,

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                                                                  Page 44

 1                   CARROLL - CONFIDENTIAL
 2           men who have a great sense of humor,
 3           men who are fun to be with, men who
 4           love animals, men who love their
 5           mothers, men who like women, men who
 6           like other men, not sexually but like,
 7           you know, athletic men, adventurous
 8           men.
 9      BY MS. HABBA:
10           Q.     Do you like men who are
11      successful?
12           A.     Yes.
13                  MS. KAPLAN:     Objection to form,
14           sorry.
15                  THE WITNESS:      Yes.
16      BY MS. HABBA:
17           Q.     When is the last time you went
18      out with a man -- how do I state this --
19      in hopes of becoming more than friends?
20           A.     See, that's the thing.            You put
21      your finger on it.       I've never met anybody
22      since that time where I felt that hope of
23      wow, I hope this turns into something.
24           Q.     So when is last time you had sex?
25           A.     '94 or '95.

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                                                                     Page 135

 1                   CARROLL - CONFIDENTIAL
 2           A.     No.
 3           Q.     Do you recall what your
 4      disposition was on that phone call?
 5           A.     I was in shock and disordered.               I
 6      felt unbalanced which was a strange
 7      feeling for me.
 8           Q.     When you say unbalanced were you
 9      actually physically unbalanced?
10           A.     Yes.
11           Q.     Did you sit down at any point
12      or --
13           A.     No.
14           Q.     Did you need to get a water or do
15      anything to take care of yourself after
16      that moment?
17           A.     No, what I wanted to do, I needed
18      to talk to somebody, talk to Lisa.                  Then I
19      just wanted to go home.
20           Q.     Is that what you did?
21           A.     (Witness nodded.)
22           Q.     So did you go to a parking garage
23      to get your car or did you go straight
24      home?
25           A.     The parking garage.

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                                                                    Page 137

 1                     CARROLL - CONFIDENTIAL
 2           A.       Model.
 3           Q.       Thank you.
 4           A.       It was a 1959.       It was a real
 5      beauty.
 6           Q.       What color?
 7           A.       That aquamarine and white.               It
 8      was a gorgeous car.
 9           Q.       So what did you do immediately
10      following the call?
11           A.       Walked to the car.
12           Q.       Did you call anybody else?
13           A.       No.
14           Q.       After you --
15           A.       No, not particularly after that
16      call.       I knew that I wasn't going to tell
17      anybody ever again about this.                Lisa
18      shocked me in the call.
19           Q.       Why did she shock you?
20           A.       She told me I had been raped.
21           Q.       Had it occurred to you?
22           A.       No.
23           Q.       After this conversation, did you
24      discuss this incident with Ms. Birnbach
25      again?

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                                                                   Page 145

 1                   CARROLL - CONFIDENTIAL
 2           Q.     Have you ever questioned if what
 3      happened in that dressing room was rape?
 4                  MS. KAPLAN:     Objection to form.
 5           You can answer.
 6                  THE WITNESS:      I question whether
 7           he thought it was rape.            I never
 8           questioned what I thought.
 9      BY MS. HABBA:
10           Q.     During the two decades that
11      followed, how would you say the alleged
12      attack impacted your life?
13           A.     Well, four or five years ago I
14      would have told you it had no effect.                I'm
15      as good as new.      This is great.           I'm fine.
16      I rarely think of it but I've come to
17      understand that that rape changed my life
18      which is shocking for me to now
19      understand.
20           Q.     When you say four or five years
21      ago, do you mean when you started this
22      lawsuit?
23           A.     No, before that, before that.
24      I'm talking about the time before this.
25           Q.     Before the lawsuit.

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                                                                 Page 147

 1                   CARROLL - CONFIDENTIAL
 2      why was -- let me scratch that.
 3                  During the last two decades, have
 4      you ever interacted with the defendant
 5      again directly?
 6           A.     No.
 7           Q.     Were you aware that the
 8      president -- that the defendant was a
 9      presidential candidate prior to the 2016
10      election?
11           A.     Yes.
12           Q.     And are you aware that he ran in
13      2000 as a potential member of the reform
14      party?
15           A.     No.
16           Q.     Did you ever consider coming
17      forward with your account prior to #MeToo?
18           A.     Never.
19           Q.     Why not?
20           A.     Just -- I'm going to say
21      something that even surprises me because
22      women who have been raped are looked at in
23      this society as less, are looked at as
24      spoiled goods, are looked at as rather
25      dumb to let themselves get attacked.                I

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                                                                 Page 148

 1                   CARROLL - CONFIDENTIAL
 2      mean even you have to say did you scream?
 3      I mean every woman who admits to being
 4      attacked has to answer that question, why
 5      didn't you scream, why did you come
 6      forward when you did, why didn't you come
 7      forward before and so no, I didn't -- I
 8      would have been fired.
 9           Q.     How did you feel when you found
10      out that the defendant announced he was
11      running for president in 2016?
12           A.     I thought oh, boy.
13           Q.     What does oh, boy mean?
14           A.     Just almost disbelief and a
15      little bit of heartache.          I felt really
16      bad, you know.
17           Q.     Why did you feel bad?
18           A.     I didn't think he would be a good
19      candidate.
20           Q.     Why didn't you come forward with
21      your account at that time?
22           A.     I was with my mother in
23      Bloomington, Indiana.        She was on her
24      deathbed.     She was a feisty redheaded
25      Scottish woman, republican politician, so

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                                                                 Page 172

 1                   CARROLL - CONFIDENTIAL
 2      BY MS. HABBA:
 3           Q.     Were the timing of your
 4      allegations related to the former
 5      president's run for reelection?
 6           A.     No.
 7           Q.     Was it something you considered?
 8           A.     No.
 9           Q.     How did the defendant's
10      statements impact your personal life?
11           A.     Totally affected it.          I lost my
12      job.    I'm looked at as a woman who's
13      untrustworthy, looked at now as a woman
14      who can't be believed.         I'm looked at as a
15      woman who was stupid and dumb enough to
16      have happen to her what happened to her.
17           Q.     You just said that you're looked
18      at as a woman stupid enough to have had
19      happen to her what happened to her; is
20      that correct?
21           A.     (Witness nodded.)
22           Q.     How does that relate to Donald
23      Trump, the perception rather?
24           A.     He raped me and after that
25      everything I thought was quickly over and

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       Case 1:22-cv-10016-LAK Document 15-2 Filed 12/19/22 Page 14 of 48
                                Confidential

                                                                           Page 1
 1

 2               UNITED STATES DISTRICT COURT
             FOR THE SOUTHERN DISTRICT OF NEW YORK
 3
               CASE No. 20 CIV. 7311           (LAK) (JLC)
 4

 5   E. JEAN CARROLL,

 6               Plaintiff,

 7   -vs-

 8   DONALD J. TRUMP,
     in his personal capacity,
 9
                Defendant.
10   _________________ !
11

12

13                               =   =   =
14                            CONFIDENTIAL

15                               =   =   =
16

17          VIDEOTAPED DEPOSITION OF DONALD J. TRUMP

18
                   Wednesday, October 19, 2022
19                   10:22 a.m. - 3:50 p.m.

20                     The Mar-a-Lago Club
                    1100 South Ocean Boulevard
21                 Palm Beach, Florida, Florida

22

23   Stenographically Reported By
     Pamela J. Pelino, RPR, FPR, CLR
24   Notary Public, State of Florida
     TSG REPORTING
25   JOB NO. 218342



                   TSG Reporting - Worldwide    877-702-9580
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 1                            D. J. TRUMP
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